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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

MARK CROUCH,

       Plaintiff,                                              Case No. 1:15-cv-919

v.                                                             HON. JANET T. NEFF

NRA LLC, et al.,

      Defendants.
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                                 STIPULATION OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, plaintiff Mark

Crouch, through his attorney of record, and defendants NRA LLC, BOC LLC, UPG, LLC,

Midwestern Alliance, LLC, David Michael Carr, Russell M. Campise, Sr. and Heron Easton

Simmonds, through their attorneys of record, being all of the parties who have appeared in this

action, stipulate to the immediate dismissal of this action, with prejudice as to all parties, and

with no award of costs to any party.

Dated: December 1, 2015                        /s/ Phillip C. Rogers
                                               Phillip C. Rogers (P34356)
                                               Attorney for Plaintiff
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Dated: December 1, 2015                        /s/ Brendan Hoffman Little
                                               Brendan Hoffman Little
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